Case 1:19-cr-00148-CKK Document 125-1 Filed 07/18/22 Page 1 of 1




    ARTEMUS ACCT 95900 May-Dec 2017
    City National Bank

    Funds Paid to:

    AMEX Pymt                                     $591,137.23
    Beach House OWNE Membership                        $749.00
    Cash Out                                       $105,500.00
    Korkus Residences LLC                           $42,900.00
    Check Paid (3)                                   $7,375.00
    CITI Card Pymt                                  $34,000.00
    Kofi A Richmond                                  $2,500.00
    DISCOVER E-payment                               $4,000.00
    NELNET Loan Srv Jax Pay                          $5,000.00
    Tiffany & Co                                    $90,000.00
    Wire Out Unknown                                $54,784.00
    Wire Out Unknown                                 $5,000.00
    Anouse Michel                                    $3,000.00
    Ashley Howard                                   $10,000.00
    Balance By Design                                $5,000.00
    Bank of America                                 $28,000.00
    Blance Design & Co                              $10,000.00
    Carline Balan                                    $6,377.94
    Client By Design                                $20,000.00
    Happy Place Inc                                  $3,850.00
    Janjay Sherman                                  $11,250.00
    Kelsey M Laverack                                $6,000.00
    Kitson Entertainment Group                       $4,000.00
    Lany Films Production                           $28,000.00
    Luxury Bazaar                                   $40,000.00
    Monica Brand                                     $7,000.00
    SRM Entertainment & Business Inc                $15,000.00
    Step It Up Ent LLC                              $10,000.00
    Timepiece Perfection                            $25,000.00
    Varick Smith RP America LLC                     $20,000.00
    Welath Management Assoc                         $75,000.00
    Elite Marketing                                 $60,000.00
                TOTAL PAID OUT                   $1,330,423.17
